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  A0 247 (02/08) Order Regarding Motion for Sentence Reduction


                                       UNITED STATES DISTRICT CoURT
                                                                      for the
                                                          Southern District of Georgia
                                                             Statesboro Division
                   United States of America                           )
                              V.                                      )
                                                                      ) Case No: CR604-00010-006
                         Aundrey Douglas
                                                                          ) USM No: 11985-021
Date of Previous Judgment: March 2, 2005                  _________ ) J. Franklin Edenfield
(Use Date of Last Amended Judgment if Applicable)                   ) Defendant's Attorney

                    Order Regarding Motion for Sentence Red uction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of Jthe defendant           the Director of the Bureau of Prisons [lithe court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
             DENIED. [lIJ GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in
                      the last judgment issued) of _________________ months is reduced to __________________________

I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:                    29                               Amended Offense Level:     27
Criminal History Category:                 III                              Criminal History Category: 111
Previous Guideline Range:               108 to 135               months     Amended Guideline Range: 87 to 108 months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
    The reduced sentence is within the amended guideline range.
LII The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
    of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
    amended guideline range.
  J Other (explain):




II!. ADDITIONAL COMMENTS
The Court has considered the factors set forth at 18 U.S.C. § 3553(a) and concludes the defendant presents a danger
to the community. The defendant has two prior felony drug convictions and the Court contends he poses a substantial
risk to the citizens of this district if released early.

Except as provided above, all provisions of the judgment dated ____________________ shall remain in effect.



                                                                             /      kei;a91


                                                                            B. Avant Edenfield
Effective Date:                                                             United States District Judge
                   ______________________                                   For the Southern District of Georgia
                     (if different from order date)                                          l'rinted name and title
